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     400 Capital Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Alvino Salmeron
 4
 5                       IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,                  )   Case No.: 2:10-CR-0507-01-WBS
 9                                              )
                  Plaintiff,                    )   STIPULATION AND ORDER FOR
10                                                  CONTINUANCE OF JUDGMENT AND
                                                )   SENTENCING AND MODIFICATION
11         vs.                                  )   OF SCHEDULE FOR PSR
                                                )
12                                              )
13   ALVINO SALMERON,                           )
                                                )
14                Defendant.                    )
15                                              )
16
17         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

18   Judgment and Sentencing scheduled for March 11, 2013, at 9:30 a.m. is continued to June

19   17, 2013, at 9:30 a.m. in the same courtroom. The continuance is requested because

20   defense counsel needs additional time to prepare for the Pre-Sentence Report (PSR).

21   Daniel McConkie, Assistant United States Attorney, and Thomas A. Johnson,

22   Defendant’s attorney, agree to this continuance.

23
24   IT IS SO STIPULATED.

25
     DATED: January 29, 2013                            By:   /s/ Thomas A. Johnson
26                                                            THOMAS A. JOHNSON
                                                              Attorney for Defendant
27                                                            ALVINO SALMERON
28

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 1
     DATED: January 29, 2013                       BENJAMIN B. WAGNER
 2                                                 United States Attorney
 3                                           By:   /s/ Thomas A. Johnson for
                                                   DANIEL MCCONKIE
 4                                                 Assistant United States Attorney
 5
     IT IS SO ORDERED.
 6   DATED: January 29, 2013
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 2
                                 IN THE UNITED STATES DISTRICT COURT
 3
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 4
 5                                                   )   Case No.: 2:10-CR-0507-WBS
     UNITED STATES OF AMERICA,                       )
 6                                                   )   MODIFICATION OF SCHEDULE FOR
                    Plaintiff,                       )   PRE-SENTENCE REPORT AND FOR
 7                                                   )   FILING OF OBJECTIONS TO THE PRE-
          v.                                         )   SENTENCE REPORT
 8                                                   )
     ALVINO SALMERON,
 9                                                   )
                    Defendant.                       )
10                                                   )

11    The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
                                                 this Court.
12
13   Judgment and Sentencing date:                                June 17, 2013 at 9:30 am

14   Reply or Statement                                           June 10, 2013
15   Motion for Correction of the Pre-Sentence
16   Report shall be filed with the court and                     June 3, 2013
     served on the Probation Officer and opposing
17   counsel no later than:
18   The Pre-Sentence Report shall be filed with
19   the court and disclosed to counsel no later                  May 27, 2013            __
     than:
20
     Counsel’s written objections to the Pre-
21   Sentence Report shall be delivered to the                    May 20, 2013
22   Probation Officer and opposing counsel
     no later than:
23
24
     The proposed Pre-Sentence Report                             May 6, 2013
25   shall be disclosed to counsel no later than:

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